Case 8:17-cv-02055-WFJ-JSS Document 1 Filed 08/28/17 Page 1 of 12 PageID 1
Case 8:17-cv-02055-WFJ-JSS Document 1 Filed 08/28/17 Page 2 of 12 PageID 2
Case 8:17-cv-02055-WFJ-JSS Document 1 Filed 08/28/17 Page 3 of 12 PageID 3
Case 8:17-cv-02055-WFJ-JSS Document 1 Filed 08/28/17 Page 4 of 12 PageID 4
Case 8:17-cv-02055-WFJ-JSS Document 1 Filed 08/28/17 Page 5 of 12 PageID 5
Case 8:17-cv-02055-WFJ-JSS Document 1 Filed 08/28/17 Page 6 of 12 PageID 6
Case 8:17-cv-02055-WFJ-JSS Document 1 Filed 08/28/17 Page 7 of 12 PageID 7
Case 8:17-cv-02055-WFJ-JSS Document 1 Filed 08/28/17 Page 8 of 12 PageID 8
Case 8:17-cv-02055-WFJ-JSS Document 1 Filed 08/28/17 Page 9 of 12 PageID 9
Case 8:17-cv-02055-WFJ-JSS Document 1 Filed 08/28/17 Page 10 of 12 PageID 10
Case 8:17-cv-02055-WFJ-JSS Document 1 Filed 08/28/17 Page 11 of 12 PageID 11
Case 8:17-cv-02055-WFJ-JSS Document 1 Filed 08/28/17 Page 12 of 12 PageID 12
